                  Case 1:24-cr-01493-MLG                Document 2           Filed 10/30/24          Page 1 of 6

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AO 9l (Rev         Criminal Complaint



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                                                              for the                                         OCf J {)
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                                                    District of New Mexico
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                  United States of America                                                                             "
                                                                                                            citn,(".,EERs
                              v.
                                                                        caseNo.
                   THERESAATENCIO                                                  ALI_f1\kl#1

                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                August 9-10,2024              in the county of             Bernalillo            in the

                       District of         New Mexico        , the defendant(s) violated:

             Code Section                                                  Offense Description

18 U.S.C.371                                  Conspiracy to Provide a Prohibited Object to an lnmate of a Prison
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         This criminal complaint is based on these facts:

See aftached affidavit.




         d Continued on the attached sheet.

                                                                                                         'sign6ture


Sworn to before me and signed in my presence.                                      Jordan Spaeth, FBI SpecialAgent
                                                                                            Printed name and title




        /o s2                                                                                         signature


City and state:                  Albuquerque, New Mexico
                                                                                            Printed name and title
             Case 1:24-cr-01493-MLG          Document 2       Filed 10/30/24      Page 2 of 6
            AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CzuMINAL COMPLAINT


      I, Jordan Spaeth, being first duly sworn, hereby depose and state as follows:

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       l.      I am a special agent with the Federal Bureau of Investigation (FBI) and have been a sworn

law enforcement officer for more than l5 years, serving first as apolice offtcer and then as an FBI special

agent. I have been with the FBI since 2018 and am currently assigned to the Albuquerque, New Mexico

field office, to the Violent Gang Task Force ("VGTF"). As a member of the VGTF my primary

responsibility is to investigate criminal enterprises involving violent repeat offenders, gang members,

and associates who participate in violations of the Controlled Substances Act, firearms violations,

murder, racketeering, and other violations of federal law. Prior to my current assignment, I was assigned

to the Violent Crime Task Force and also worked violent felony crimes which were committed on the

multiple tndian Reservations/Pueblos surrounding Albuquerque.

       2.      My investigative training and experience includes, but is not limited to, interviewing

subjects, targets, and witnesses; writing affidavits for, and executing search and arrest warrants;

collecting evidence; conducting surveillance; and analyzing public records. Over the course of my

career, I have arrested hundreds of persons for offenses relating to armed robberies, firearm violations,

bank robberies, illegal narcotics, and other criminal conduct. I have also been responsible for serving

subpoenas and supervising cooperating sources, as well as analyzing phone records.

        3.     I make this affidavit in support of the arrest of THERESA ATENCIO (hereinafter
"ATENCIO") for a violation of Conspiracy to Provide a Prohibited Object to an Inmate of a Prison,

contrary to l8 U.S.C. $ 371.

              a. The Cibola County Correctional Center ("CCCC"), located in Cibola County, New
                 Mexico, is a "prison" within the meaning of 18 U.S.C. $ l79l(dx4), because it is a

                 facility in which persons are held in custody by direction of and pursuant to a contract
            Case 1:24-cr-01493-MLG          Document 2       Filed 10/30/24      Page 3 of 6

            AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CRIMINAL COMPLAINT


                  and agreement with the United States Marshals Service, which reports to and is under

                  the control of the Attomey General of the United States.

             b. Mobile telephones are "prohibited objects" within the meaning of 18 U.S.C. $
                  1791(dXlXF), which an inmate of a prison may not lawfully obtain, attempt to obtain,

                  and possess.

             c. It is unlawful to provide or attempt to provide a mobile phone to an inmate at the CCCC.
                  18 u.S.c. $$ 17el(a)(1), (bX4).

       4.      The statemenls contained in this affidavit are based upon my investigation, training

and experience, and information provided by other law enforcement officers or from other reliable

sources. Because this affidavit is being submitted for the limited purpose of securing a criminal

complaint, I have not included each and every fact known to me concerning this investigation. I have set

forth only the facts which I believe are necessary to establish probable cause to support a criminal

complaint against ATENCIO.

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       5.        In the early moming hours of August 10,2024, a package was thrown over the fence at

CCCC. The package was recovered by CCCC staff and contained 26 gramsof heroin, two cell phones

and charging cords, lighters, syringes, 62 grams of tobacco, and rolling papers, one sheet of paper soaked

in synthetic cannabinoids,2l8 strips of suboxone, and 56 grams of THC wax. The package was destined

for two inmates, but the inmates did not successfully recover the package. A photograph of the package

appears below:
            Case 1:24-cr-01493-MLG          Document 2      Filed 10/30/24     Page 4 of 6

            AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CRIMINAL COMPLAINT




       6.      Through a review of recorded jail calls, agents leamed that following the attempted

throwover of the package, ATENCIO had a phone call with the two inmates who the package was

destined for. The inmates told ATENCIO that the package had been seized by CCCC. They instructed

ATENCIO to shut off a cell phone that was intended for them. ATENCIO told the inmate that the phone

could not be shut off because $400 had been put on the phone for four months of activation. The inmate

then told ATENCIO to have the cell phone account switched to someone or something else. ATENCIO

responded that she could not switch the account. The inmate then told ATENCIO to schedule a visit for

the following Thursday.

       7.      On October 22,2024,two individuals who threw the package over the fence, along with

the two inmates, were indicted by a grand jury for violations of l8 U.S.C. $$ l79l(a)(l), (aX2), (bXl),

and (b)(4), as well as l8 U.S.C. $ 371 . See 24-cr-1493.

       8.      On Octobe r 29,2024,I obtained l3 search warrants for residences of individuals the FBI

suspects to be involved in smuggling drugs and other contraband inside CCCC. One of the

aforementioned search warrants were for ATENCIO's residence, located at9748 Summer Shower Pl

NW, Albuquerque, NM 87120. The search warrants were approved by the Honorable Steven C.
               Case 1:24-cr-01493-MLG               Document 2      Filed 10/30/24     Page 5 of 6

               AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CRIMINAL COMPLAINT


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          9.            On October 20, 2024, four FBI SWAT teams, the United States Marshals Service

("USMS") Special Operations Group, USMS Task Force, along with FBI agents and Task Force Officers

executed the 13 search warrants. Upon agents executing the search warrant at ATENCIO's residence,

she was located inside. Agents located several items inside and seized the following:

                   a.    White powdery substance, suspected cocaine;

                   b.    Four firearms; and

                   c. A cell phone.
          10.           ATENCIO agreed to speak with agents, without an attorney, and advised that one of the

inmates had asked her to buy him an iPhone cell phone that he could use inside CCCC. ATENCIO

advised agents that she knew that cell phones were illegal in jail and specifically, that the inmate was

not allowed to have a cell phone inside CCCC. ATENCIO nonetheless went to a Boost Mobile store,

purchased a phone, and activated it for the inmate. ATENCIO then gave the phone to someone else and

knew that it would somehow be given to the inmate. A few days later, ATENCIO got a call from the

inmate saying that he did not receive the cell phone. The inmate asked ATENCIO to switch the service

to another device, but she said she could not because she did not know how.

                                                     CoNcr,usrox

          1   1.        Based on the above information, I believe there is probable cause that ATNECIO violated

l8 U.S.C. $ 371, namely Conspiracy to Provide a Prohibited Object to an Inmate of a Prison. I declare

under penalty of perjury that the foregoing is true and correct to the best of my knowledge.

          12. This affidavit has been reviewed and approved by Assistant United States Attorney David
Hirsch.
        Case 1:24-cr-01493-MLG   Document 2   Filed 10/30/24     Page 6 of 6

       AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CRIMINAL COMPLAINT


                                              Respectfully submitted,




                                              Federal Bureau of Investigation



             before me in my


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ALBUQUERQUE, NEW
